          Case 1:20-vv-00624-UNJ Document 20 Filed 10/01/20 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0624V
                                        UNPUBLISHED


    EMILEE PLETCHER,                                        Chief Special Master Corcoran

                        Petitioner,                         Filed: August 31, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Anne Carrion Toale, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.

Kimberly Shubert Davey, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

       On May 20, 2020, Emilee Pletcher filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza vaccination received on December
17, 2018. Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

       On August 31, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent agrees that “petitioner’s alleged injury is consistent with
SIRVA, as defined on the Vaccine Injury Table. Specifically, petitioner had no history of

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
         Case 1:20-vv-00624-UNJ Document 20 Filed 10/01/20 Page 2 of 2




pain, inflammation or dysfunction in her left shoulder, her pain and reduced range of
motion occurred within 48 hours of receipt of an intramuscular vaccination; her symptoms
were limited to the shoulder in which the vaccine was administered; and no other condition
or abnormality was identified to explain her symptoms.” Id. at 6. Respondent further
agrees that “petitioner has satisfied the statutory requirement that petitioner’s injury lasted
for at least six months, or resulted in ‘inpatient hospitalization and surgical intervention . .
. . [and] has satisfied all legal prerequisites for compensation under the Act.” Id. at 6-7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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